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  JACK LEVINE,
                                             UNITED STATES DISTRICT COURT
                           Plaintiff,
                                            FOR THE DISTRICT OF NEW JERSEY
                 V.

                                            Docket No.     18—12045
  NEW   JERSEY   STATE    POLICE,
  TROOPER JOSEPEI DREW,   TROOPER
                                            Civil Action
  ANDREW WHITMORE, AND JOHN DOES;

                                                        CONSENT ORDER

  Defendants.                           —




       This matter having been brought before the Court by agreement

 of Gurbir S.    Grewal,    Attorney General      of New Jersey,   by Nicole E.


 Adams,   Deputy      Attorney   General,   and   Victor   DiFrancesco,     Deputy


 Attorney General, counsel for New Jersey State Police, Trooper Joseph

 Drew and Trooper Andrew Whitmore,          (“Defendants”); and Arthur Lang,

 Esquire,   attorney for Plaintiff; and it appearing by the signatures

 affixed below that       the parties agree;      and   for good cause    shown;
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          IT IS on this             day of      pk%4     r        201$;

    ORDERED that Plaintiff has agreed to withdraw and dismiss without

    prejudice all federal claims, and Defendants consent to remand the

    case to state court.



                                The Honorable Renée Marie Bumb, U.S.D.J

      We herby consent to the form, content, and entry of Lhis Order.

    GURBIR S. GREWAL
    ATTORNEY GENERAL OF NEW JERSEY


     y:   Nicole E. Adams                 Arthur Lan,JEsqu
          Deputy Attorney General         Attorney f/ the -?laintiff



    By: VictorDiFran
         Deputy Attorney Genera
        Attorney for Defendants


    DATED:                           DATED:
